Case: 1:12-cv-06425 Document #: 1-2 Filed: 08/14/12 Page 1 of 46 PageID #:90

EXHIBIT B
Case: 1:12-cv-06425 Document #: 1-2 Filed: 08/14/12 Page 2 of 46 PagelD #:91

APFIDAVIT

Linda D. Hautala, being first duly sworn on oath, deposes and
says: That she is a duiy authorized custodian of the records of

West Bend Mutual Insurance Company and she has the authority to

certify those records.

To the best of my knowledge, the policy attached to this
affidavit is a true copy of the original Standard Workers
Compensation and Employers Liability policy, bearing policy

#WCA0457505-07 as that policy was in effect on January 1, 2007 to
January 1, 2008.

ao ha I JL ct Ie:

Linda D. Hautala

Subscribed and sworn to before me
this 2nd day of May, 2012.

Aan olu (). Fakes

Noétaty Public, WaéAington County, WI
My Commission expires /o-&- />

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Case: 1:12-cv-06425 Document #: 1-2 Filed: 08/14/12 Page 3 of 46 PagelD #:92
. West Bend Mutual CUSTOMER # 0110109905 R_ 210

INSURANGE COMPANY-TIME TESTED SINCE 1894
1900 SOUTH 18TH AVENUE-WEST BEND, WI 53095

STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCA 0457505-07

ENDORSEMENT EFFECTIVE 07/01/2007
CHANGING INSURED'S NAMB & ENTITY

NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS

1. PROCACCIO PAINTING CO, INC, PRIMB MERIDIAN INS GROUP LTD
PROCACCIO PAINTING & DRYWALL 2700 INTERNATIONAL DR
601 SIDWELL CT UNIT L WEST CHICAGO, IL 60185
ST CHARLES, IL 60174 {630)-443-7300 AGENCY NO. 1262678 02

FEIN # 364233946 RISK ID # 121002094
NO ADDITIONAL LOCATIONS

ENTITY OF INSURED -— CORPORATIONS

2. POLICY PERIOD - 01/01/2007 TO 01/01/2008 12:01 AM STANDARD TIME AT THE

ADDRESS OF THE INSURED AS STATED HEREIN.

3A. WORKERS COMPENSATION INSURANCE: PART ONE OF THE POLICY APPLIES TO THE WORKERS
COMPENSATION LAW OF THE STATES LISTED HERE: IL.

3B. EMPLOYERS LIABILITY INSURANCE: PART TWO OF THE POLICY APPLIES TO WORK IN EACH
STATE LISTED IN ITEM 3A. THE LIMITS OF OUR LIABILITY UNDER PART TWO ARE:

BODILY INJURY BY ACCIDENT $1,000,000 EACH ACCIDENT
BODILY INJURY BY DISEASE $1,000,000 EACH EMPLOYEE
BODILY INJURY BY DISEASE $1,000,000 TOTAL POLICY

3c. OTHER STATES INSURANCE: PART THREE OF THE POLICY APPLIES TO ALL STATES
EXCEPT ND, OH,WA, WV,WY,AND THE STATES DESIGNATED IN 3A

3D. SEE ATTACHED SCHEDULE FOR LIST OF ENDORSEMENTS FORMING A PART OF THIS
POLICY.
4. THE PREMIUM FOR THIS POLICY WILL BE DETERMINED BY OUR MANUALS OF RULES,
CLASSIFICATIONS, RATES, AND RATING PLANS. ALL INFORMATION REQUIRED BELOW
IS SUBJECT TO VERIFICATION AND CHANGE BY AUDIT. ADJUSTMENT OF PREMIOM SHALL
BE MADE ANNUALLY.
CLASSIFICATION OF OPERATIONS

EST RATE EST
ST LOC CODE CLASSIFICATION DESCRIPTION TOT-TERM PER $100 TERM
REMUN REMUN PREMIUM
SEE EXTENSION OF INFORMATION PAGE 268,442
PREMIUM DISCOUNT: 9.3% $24,395-
MINIMUM PREMIUM $1,000 (IL) EXPENSE CONSTANT: $280
ESTIMATED ANNUAL PREMIUM: $244,327
ASSESSMENTS & TAXES: $2,468 DEPOSIT PREMIUM: $246,795

THE FOREGOING AMENDMENT RESULTS IN NO CHANGE OF PREMIUM.
*ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED ELSEWHERE IN THIS POLICY,
DO NOT MODIFY ANY OF THE OTHER PROVISIONS OF THIS POLICY.
COUNTERSIGNED THIS DAY OF , 20

AUTHORIZED REPRESENTATIVE

ISSUE DATE 08/14/2007
Case: 1:12-cv-06425 Document #: 1-2 Filed: 08/14/12 Page 4 of 46 PagelD #:93

West Bend Mutual

INSURANCE COMPANY-TIME TESTED SINCE 1304
1900 SOUTH 18TH AVENUE-WEST BEND, WI 53095

NAMED INSURED AND ADDRESS

1. PROCACCIO PAINTING CO, INC,
PROCACCIO PAINTING & DRYWALL
601 SIDWELL CT UNIT L
ST CHARLES, IL 60174

FEIN # 3642

POLICY
PAGE 2

BST RATE
ST LOC CODE CLASSIFICATION DESCRIPTION TOT-TERM PER $100
REMUN REMUN
IL 0001 5445 WALLBOARD INSTALLATION-WITHIN 4,425,408 10.09
BUILDINGS-& DRIVERS
5474 PAINTING OR PAPER HANGING NOC & 2,146,560 11.33
SHOP OPERATIONS, DRIVERS
5606 CONTRACTOR-PROJBCT MANAGER, CON- 1,472,640 4.41
STRUCTION EXECUTIVE, CON-
STRUCTION MANAGER OR CON-
STRUCTION SUPERINTENDENT
8227 CONSTRUCT. OR BRECTION PERMANENT 41,600 12.07
YARD
8742 SALESPERSONS OR COLLECTORS- 166,192 0.59
OUTSIDE
8810 CLERTCAL OFFICE EMPLOYEES NOC 507,884 0.34
SUB-TOTAL
9740 FOREIGN TERRORISM 0500
9741 DOMESTIC TERR.,EARTHQUAKE & CAT. 0200
0930 WAIVER
9812 INCREASED COVERAGE II 2.9%
9931 MEDICAL DEDUCTIBLE 2.5%
9898 EXPERIENCE MODIFICATION - 7300
9887 SCHEDULE MODIFICATION 30.0%
9046 CONTR ADJ .6700

ISSUE DATE 0

CUSTOMER # 0110109905

STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCA 0457505-07

ENDORSEMENT EFFECTIVE
CHANGING INSURED'S NAME & ENTITY

33946 RISK ID # 121002094

EXTENSION OF INFO

07/01/2007

AGENCY NAMB AND ADDRESS

IL 60185

RMATTON PAGE

CLASSIFICATION OF OPERATIONS

SCHEDULE CONTINUED ON NEXT PAGE

8/14/2007

R 210

PRIME MERIDIAN INS GROUP LTD
2700 INTERNATIONAL DR
WEST CHICAGO,
(630)-443-7300 AGENCY NO.

1262678 02

EST
TERM
PREMIUM

446,524
243,205

64,943

5,021
981
1,727
762,401

4,380
1,752
2,000
21,403
19, 645-
206, 863-
167, 789-
129,197-
Case: 1:12-cv-06425 Document #: 1-2 Filed: 08/14/12 Page 5 of 46 PageID #:94
West Bend Mutual CUSTOMER # 0110109905 R 210

INSURANCE COMPANY: TIME TESTED SINCE 1894
1900 SOUTH 18TH AVENUE-WEST BEND, WI 53095

STANDARD WORKERS COMPENSATION

AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCA 0457505-07

ENDORSEMENT EFFECTIVE 07/01/2007
CHANGING INSURED'S NAME & ENTITY

NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
1. PROCACCIO PAINTING Co, INC, PRIME MERIDIAN INS GROUP LTD
PROCACCIO PAINTING & DRYWALL 2700 INTERNATIONAL DR
601 SIDWELL CT UNIT L WEST CHICAGO, IL 60185
ST CHARLES, IL 60174 (630)-443-7300 AGENCY NO. 1262678 02
FEIN # 364233946 RISK ID # 121002094
POLICY EXTENSION OF INFORMATION PAGE
PAGE 3
CLASSIFICATION OF OPERATIONS
EST RATE EST
ST LOC CODE CLASSIFICATION DESCRIPTION TOT-TERM PER $1900 TERM
REMUN REMUN PREMIUM
IIC OPERATIONS FUND SURCHARGE -0101 2,468
TOTAL FOR ILLINOIS 268,442

ISSUE DATE 08/14/2007
Case: 1:12-cv-06425 Document #: 1-2 Filed: 08/14/12 Page 6 of 46 PageID #:95
West Bend Mutual CUSTOMER # 0110109905 R 210

ST
INSURANCE GOMPANY-TIME TESTED SINCE 1894
1900 SOUTH 18TH AVENVE-WEST BENG, WI 53095

STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLTCY NUMBER WCA 0457505-07

ENDORSEMENT EFFECTIVE 07/01/2007
CHANGING INSURED'S NAME & ENTITY

NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS

1. PROCACCIO PAINTING CO, INC, PRIME MERIDIAN INS GROUP LTD
PROCACCIO PAINTING & DRYWALL 2700 INTERNATIONAL DR
601 SIDWELL CT UNIT L WEST CHICAGO, IL 60185
ST CHARLES, IL 60174 (630)-443-7300G AGENCY NO. 1262678 02

FEIN # 364233946 RISK ID # 121002094

POLICY ENDORSEMENT SCHEDULE

PAGE 4
NUMBER DESCRIPTION
WB1188 WEST BEND MUTUAL PRIVACY STATEMENT (01-06)
wcogoodooa WORKERS COMP & EMPLOYERS LIAB.& INS.POL. (92-04)
WCOOOOO01A GENERAL INFORMATION PAGE NOTES (91-06}

- WCO00310 SOLE PROP. PARTNERS OFFICERS & OTHERS END. (84-04)
wCoe00403 EXPERIENCE RATING MODIFICATION FACTOR END, (84-04)
woooo406 PREMIUM DISCOUNT ENDORSEMENT (84-08)
weoooo4i4 NOTIFICATION OF CHANGE IN OWNERSHIP END. (90-07)
WC120402 ILLINGIS CONT CLASS PREMIUM ADJUSTMENT END {92-09}
WB11390 IMPORTANT NOTICE - SUBCONTRACTORS (84-07)

WB409G NOTICE OF ELECT TO ACCEPT AN INS DED-ILL W.C. (06-01)
wceooo113 TERRORISM RISK INSURANCE EXTENSION ACT END (06-01)
. WOO000313 WAIVER OF OUR RIGHT TO REC FROM OTH END. (84-04)

SCHEDULE CONTINUED ON NEXT PAGE

ISSUER DATE 08/14/2007
Case: 1:12-cv-06425 Document #: 1-2 Filed: 08/14/12 Page 7 of 46 PagelD #:96
West Bend Mutual CUSTOMER # 0110109905 R 210

INSURANCE COMPANY-TIME TESTED SINCE 1894
1900 SOUTH 18TH AVENUE-WEST BEND, WI 53095

STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCA 0457505-07

ENDORSEMENT BFFECTIVE 07/01/2007
CHANGING INSURED'S NAME & ENTITY

NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS

1. PROCACCIO PAINTING CO, INC, PRIME MERIDIAN INS GROUP LTD
PROCACCIO PAINTING & DRYWALL 2700 INTERNATIONAL DR
601 SIDWELL CT UNIT L WEST CHICAGO, IL 60185
ST CHARLES, IL 60174 (630)-443-7300 AGENCY NO, 1262678 62

FEIN # 364233946 RISK ID # 121002094

POLICY ENDGORSEMENT SCHEDULE
PAGE 5
NUMBER DESCRIPTION
wo000419 PREMIUM DUE DATE ENDORSEMENT (01-01)
wooood21A DOMESTIC TERRORISM, EARTHQUAKES, & CAT. INDUST. ACC(06-01)
woo0e422 FOREIGN TERRORISM PREMIUM ENDORSEMENT (06-01)
we120601C ILLINOIS AMENDATORY ENDORSEMENT (01~04)
WC120602A ILLINOIS MEDICAL BENEFITS DEDUCTIBLE (92-08)

ISSUE DATE 08/14/2007
Case: 1:12-cv-06425 Document #: 1-2 Filed: 08/14/12 Page 8 of 46 PagelD #:97
West Bend Mutual CUSTOMER # 0110109905 R 210

INSURANCE COMPANY-TIME TESTED SINCE 1804
1800 SOUTH 18TH AVENUE-WEST BEND, WI 53095

STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCA 0457505-07

ENDORSEMENT EFFECTIVE 07/01/2007
CHANGING INSURED'S NAME & ENTITY

NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS

1. PROCACCIO PAINTING Co, INC, PRIME MERIDIAN INS GROUP LTD
PROCACCIO PAINTING & DRYWALL 2700 INTERNATIONAL DR
601 SIDWELL CT UNIT L WEST CHICAGO, IL 60185
ST CHARLES, IL 60174 (630)-443-7300 AGENCY NO. 1262678 02

FEIN # 364233946 RISK ID # 121002094

POLICY NAMED INSURED SCHEDULE
PAGE 6

PROCACCIO PAINTING CO, INC, PROCACCIO PAINTING & DRYWALL CO

ISSUE DATE 08/14/2007
Case: 1:12-cv-06425 Document #: 1-2 Filed: 08/14/12 Page 9 of 46 PagelD #:98
West Bend Mutual CUSTOMER # 0110109905 R 207

INSURANCE COMPANY-TIME TESTED SINCE 1894
1800 SOUTH 78TH AVENUE-WEST BEND, WI 530905

STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCA 0457505-07

ENDORSEMENT EFFECTIVE 07/01/2007
CHANGING INSUREDS NAME

NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
ITEM
1. PROCACCIO PAINTING & PRIME MERIDIAN INS GROUP LTD
DRYWALL CO, INC 2700 INTERNATIONAL DR
601 SIDWELL CT UNIT L WEST CHICAGO, IL 60185
ST CHARLES, IL 60174 (630)-443-7300 AGENCY NO. 1262678 02

FEIN # 364233946 RISK ID # 121002094
NO ADDITIONAL LOCATIONS

ENTITY OF INSURED - CORPORATION

2. POLICY PERIOD - 01/01/2007 To 01/01/2008 12:01 AM STANDARD TIME AT THE

ADDRESS OF THE INSURED AS STATED HEREIN.

3A. WORKERS COMPENSATION INSURANCE: PART ONE OF THE POLICY APPLIES TO THE WORKERS
COMPENSATION LAW OF THE STATES LISTED HERE: IL.

3B. EMPLOYERS LIABILITY INSURANCE: PART TWO OF THE POLICY APPLIES TO WORK IN EACH
STATE LISTED IN ITEM 3A. THE LIMITS OF OUR LIABILITY UNDER PART TWO ARE:

BODILY INJURY BY ACCIDENT $1,000, ¢00 EACH ACCIDENT
BODILY INJURY BY DISEASE $1,000,000 EACH EMPLOYEE
BODILY INJURY BY DISEASE $1,000,000 TOTAL POLICY

3C. OTHER STATES INSURANCE: PART THREE OF THE POLICY APPLIES TO ALL STATES
EXCEPT ND, OH,WA, WV,WY,AND THE STATES DESIGNATED IN 3A

3D. SEE ATTACHED SCHEDULE FOR LIST OF ENDORSEMENTS FORMING A PART OF THIS
POLICY.
4. THE PREMIUM FOR THIS POLICY WILL BS DETERMINED BY OUR MANUALS OF RULES,
CLASSIFICATIONS, RATES, AND RATING PLANS. ALL INFORMATION REQUIRED BELOW
IS SUBJECT TO VERIFICATION AND CHANGE BY AUDIT. ADJUSTMENT OF PREMIUM SHALL
BE MADE ANNUALLY.
CLASSIFICATION OF OPERATIONS

EST RATE EST
ST LOC CODE CLASSIFICATION DESCRIPTION TOT-TERM PER $1006 TERM
REMUN REMUN PREMIUM
SEE EXTENSION OF INFORMATION PAGE 268,442
PREMIUM DISCOUNT: 9.3% $24,395-
MINIMUM PREMIUM $1,000 (IL) EXPENSE CONSTANT: $280
ESTIMATED ANNUAL PREMIUM: $244,327
ASSESSMENTS & TAXES: $2,468 DEPOSIT PREMIUM: : $246,795

THE FOREGOING AMENDMENT RESULTS IN NO CHANGE OF PREMIUM.
*ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED ELSEWHERE IN THIS POLICY,
DO NOT MODIFY ANY OF THE OTHER PROVISIONS OF THIS POLICY.
COUNTERSIGNED THIS DAY OF , 20

AUTHORIZED REPRESENTATIVE

ISSUE DATE 07/24/2007
Case: 1:12-cv-06425 Document #: 1-2 Filed: 08/14/12 Page 10 of 46 PageID #:99

West Bend Mutual

INSURANCE GOMPANY-TIME TESTED SINCE 1894
1900 SOUTH 18TH AVENUE-WEST BEND, WI 53085

CUSTOMER # 0110109905

STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY

POLICY NUMBER WCA 0457505-07

ENDORSEMENT BFFECTIVE 07/01/2007

CHANGING INSUREDS NAME

NAMED INSURED AND ADDRESS AGENCY NAME AN

ITEM

1. PROCACCIOC PAINTING &

DRYWALL CO, INC

2700 INTERNATI

601 SIDWELL CT UNIT L WEST CHICAGO,

ST CHARLES, IL

60174

FEIN # 364233946 RISK ID # 121002094

POLICY EXTENS TON OF INFORMATIO

PAGE 2

EST RATE
ST LOC CODE CLASSIFICATION DESCRIPTION TOT-TERM PER $100
REMUN REMUN
IL 0001 5445 WALLBOARD INSTALLATION-WITHIN 4,425,408 10.09
BUILDINGS-& DRIVERS
3474 PAINTING OR PAPER HANGING NOC & 2,146,560 11.33
SHOP OPERATIONS, DRIVERS
5606 CONTRACTOR-PROJECT MANAGER, CON- 1,472,640 4.41
STRUCTION EXECUTIVE, CON-
STRUCTION MANAGER OR CON-
STRUCTION SUPERINTENDENT
8227 CONSTRUCT. OR ERECTION PERMANENT 41,600 12.07
YARD
8742 SALESPERSONS OR COLLECTORS— 166,192 0.59
OUTSIDE
8810 CLERICAL OFFICE EMPLOYEES NOC 507,884 0.34
SUB-TOTAL
9740 FOREIGN TERRORISM 0500
9741 DOMESTIC TERR.,EARTHQUAKE & CAT. 0200
03306 WAIVER
9812 INCREASED COVERAGE II 2.8%
9931 MEDICAL DEDUCTIBLE 2.9%
9898 EXPERIENCE MODIFICATION - 7300
9887 SCHEDULE MODIFICATION 30.0%
9046 CONTR ADJ 6700

ISSUE DATE 07/24/2007

CLASSIFICATION OF OPERATIONS

SCHEDULE CONTINUED ON NEXT PAGE

D ADDRESS

ONAL DR
IL 60185

(630})-443-7300 AGENCY NO.

N PAGE

R 207

PRIME MERIDIAN INS GROUP LTD

1262678 02

EST
TERM
PREMIUM

446,524
243,205

64,943

5,021
981
1,727
762,401

4,380
1,752
2,000
21,403
19,645-
206, 863-
167,789-
129,197+
Case: 1:12-cv-06425 Document #: 1-2 Filed: 08/14/12 Page 11 of 46 PageID #:100
West Bend Mutual CUSTOMER # 0110109905 R 207

INSURANCE COMPANY-TIME TESTED SINCE 1894
1900 SOUTH 18TH AVENUE-WEST BEND, WI 53095

STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCA 0457505-07

ENDORSEMENT EFFECTIVE 07/01/2007
CHANGING INSUREDS NAME

NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
ITEM
1. PROCACCIO PAINTING & PRIME MERIDIAN INS GROUP LTD
DRYWALL CO, INC 2700 INTERNATIONAL DR
601 SIDWELL CT UNIT L WEST CHICAGO, IL 60185
ST CHARLES, IL 60174 (630) ~443-7300 AGENCY NO. 1262678 02
FEIN # 364233946 RISK ID # 121002094
POLICY EXTENSION OF INFORMATION PAGE
PAGE 3
CLASSIFICATION OF OPERATIONS
EST RATE EST
ST LOC CODE CLASSIFICATION DESCRIPTION TOT-TERM PER $100 TERM
REMUN REMUN PREMIUM
IIC OPERATIONS FUND SURCHARGE -0101 2,468
TOTAL FOR TLLINOIS 268,442

ISSUE DATE 07/24/2007
Case: 1:12-cv-06425 Document #: 1-2 Filed: 08/14/12 Page 12 of 46 PagelID #:101
West Bend Mutual CUSTOMER # 0110109905 R 207

TY
INSURANCE COMPANY-TIME TESTED SINCE 1894
1900 SOUTH 78TH AVENUE-WEST BEND, WI 53085

STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCA 0457505-07

ENDORSEMENT EFFECTIVE 07/01/2007
CHANGING INSUREDS NAME

NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
ITEM
1. PROCACCIO PAINTING & PRIME MERIDIAN INS GROUP LTD
DRYWALL CO, INC 2700 INTERNATIONAL DR
601 SIDWELL CT UNIT L WEST CHICAGO, IL 60185
ST CHARLES, IL 60174 (630}-443-7300 AGENCY NO. 1262678 02

FEIN # 364233946 RISK ID # 121002094

POLICY ENDORSEMENT SCHEDULE

PAGE 4
NUMBER DESCRIPTION
WB1188 WEST BEND MUTUAL PRIVACY STATEMENT (01-06)
WCOOGOQ00A WORKERS COMP & EMPLOYERS LIAB.& INS.POL. (92-04)
WCOOCOO01A GENERAL INFORMATION PAGE NOTES (91-06)
WC000310 SOLE PROP. PARTNERS OFFICERS & OTHERS END. (84-04)
WCoo00403 EXPERIENCE RATING MODIFICATION FACTOR END. (84-04)
WC000406 PREMIUM DISCOUNT ENDORSEMENT (84-08)
woooo414 NOTIFICATION OF CHANGE IN OWNERSHIP END. (90-07)
WC120402 ILLINOIS CONT CLASS PREMIUM ADJUSTMENT END (92-09)
WB1i30 IMPORTANT NOTICE - SUBCONTRACTORS {84-07}
WB409G NOTICE OF ELECT TO ACCEPT AN INS DED-ILL W.C. (06-01)
wooooi13 TERRORISM RISK INSURANCE EXTENSION ACT END (06-01)
WCO00313 WAIVER OF OUR RIGHT TO REC FROM OTH END. (84-04)

SCHEDULE CONTINUED ON NEXT PAGE

ISSUE DATE 07/24/2007
Case: 1:12-cv-06425 Document #: 1-2 Filed: 08/14/12 Page 13 of 46 PagelD #:102
West Bend Mutual CUSTOMER # 0110109905 R 207

INSURANCE COMPANY-TIME TESTED SINGE 1894
+900 SOUTH 18TH AVENUE-WEST BEND, Wi 53095

STANDARD WORKERS COMPENSATION
AND BMPLOYERS LIABILITY POLICY
POLICY NUMBER WCA 0457505-07

ENDORSEMENT EFFECTIVE 07/01/2007
CHANGING INSUREDS NAME

NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
ITEM
1. PROCACCIO PAINTING & PRIME MERIDIAN INS GROUP LTD
DRYWALL CO, INC 2700 INTERNATIONAL DR
601 SIDWELL CT UNIT L WEST CHICAGO, IL 60185
ST CHARLES, IL 60174 (630)-443+7300 AGENCY NO. 1262678 02

FEIN # 364233946 RISK ID # 121002094

POLICY ENDORSEMENT SCHEDULE
PAGE 5
NUMBER DESCRIPTION
weoo0d419 PREMIUM DUE DATE ENDORSEMENT (01-01)
woooo4d2ia DOMESTIC TERRORISM, EARTHQUAKES,& CAT. INDUST. ACC (06-01)
wCco0o0d422 FOREIGN TERRORISM PREMIUM ENDORSEMENT {06-01}
WC120601¢ ILLINOIS AMENDATORY ENDORSEMENT (01-04)
WC120602A ILLINOIS MEDICAL BENEFITS DEDUCTIBLE (92-08)

ISSUE DATE 07/24/2007
Case: 1:12-cv-06425 Document #: 1-2 Filed: 08/14/12 Page 14 of 46 PagelD #:103
West Bend Mutual CUSTOMER # 0110109905 R225

INSURANCE COMPANY: TIME TESTED SINCE 1854
1800 SOUTH 18TH AVENUE-WEST BEND, WI 53005

STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCA 0457505-07

ENDORSEMENT EFFECTIVE 01/01/2007
ADDING ILLINOIS CONTRACTOR ADJUSTMENT FACTOR

NAMED INSURED AND ADDRESS . AGENCY NAME AND ADDRESS

1. PROCACCIO PAINTING CO, INC PRIME MERIDIAN INS GROUP LTD
601 SIDWELL CT UNIT L 2700 INTERNATIONAL DR
ST CHARLES, IL 60174 WEST CHICAGO, IL 60185

(630)-443-7300 AGENCY NO. 1262678 02
FEIN # 364233946 RISK ID # 121002094
NO ADDITIONAL LOCATIONS
ENTITY OF INSURED - CORPORATION
2. POLICY PERIOD — 01/01/2007 TO 01/01/2008 12:01 AM STANDARD TIME AT THE
ADDRESS OF THE INSURED AS STATED HEREIN.
3A. WORKERS COMPENSATION INSURANCE: PART ONE OF THE POLICY APPLIES TO THE WORKERS
COMPENSATION LAW OF THE STATES LISTED HERE: IL.
3B. EMPLOYERS LIABILITY INSURANCE: PART TWO OF THE POLICY APPLIES TO WORK IN EACH
STATE LISTED IN ITEM 3A. THE LIMITS OF OUR LIABILITY UNDER PART TWO ARE:

BODILY INJURY BY ACCIDENT $1,000,000 EACH ACCIDENT
BODILY INJURY BY DISEASE $1,000,000 EACH EMPLOYEE
BODILY INJURY BY DISEASE $1,900, 000 TOTAL POLICY

3C. OTHER STATES INSURANCE: PART THREE OF THE POLICY APPLIES TO ALL STATES
EXCEPT ND, OH,WA, WV,WY,AND THE STATES DESIGNATED IN 3A

3D. SEE ATTACHED SCHEDULE FOR LIST OF ENDORSEMENTS FORMING A PART OF THIS
POLICY.
4, THE PREMIUM FOR THIS POLICY WILL BE DETERMINED BY OUR MANUALS OF RULES,
CLASSIFICATIONS, RATES, AND RATING PLANS. ALL INFORMATION REQUIRED BELOW
IS SUBJECT TO VERIFICATION AND CHANGE BY AUDIT. ADJUSTMENT OF PREMIUM SHALL
BE MADE ANNUALLY.
CLASSIFICATION OF OPERATIONS

EST RATE EST
ST LOC CODE CLASSIFICATION DESCRIPTION TOT-TERM PER $100 TERM
REMUN REMUN PREMIUM
SEE EXTENSION OF INFORMATION PAGE 268,442
PREMIUM DISCOUNT: 9.3% $24,395-
MINIMUM PREMIUM $1,000 (IL) EXPENSE CONSTANT: $280
ESTIMATED ANNUAL PREMIUM: $244,327
ASSESSMENTS & TAXES: 32,468 DEPOSIT PREMIUM: $246,795
THE FOREGOING AMENDMENT RESULTS IN A RETURN PREMIUM OF: $512

*ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED ELSEWHERE IN THIS POLICY,
DO NOT MODIFY ANY OF THE OTHER PROVISIONS OF THIS POLICY.
COUNTERSIGNED THIS DAY OF , 20

AUTHORIZED REPRESENTATIVE

ISSUE DATE 01/02/2007
Case: 1:12-cv-06425 Document #: 1-2 Filed: 08/14/12 Page 15 of 46 PagelID #:104

West Bend Mutual

INSURANCE COMPANY-TIME TESTED SINCE 1864
1900 SOUTH 18TH AVENUE WEST BEND, WI 63095

POLICY NUMBER

ADDING ILLINOIS CONTRACTOR ADJUSTMENT
NAMED INSURED AND ADDRESS

1. PROCACCIO PAINTING CoO, INC
601 SIDWELL CT UNIT L

ST CHARLES,

CUSTOMER # 0110199905

STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY

WCA 0457505-07

ENDORSEMENT EFFECTIVE 01/01/2007

FACTOR

AGENCY NAME AND ADDRESS

PRIME MERIDIAN INS GROUP LTD
2700 INTERNATIONAL DR

IL 60174 WEST CHICAGO, IL 60185

(630}-

FEIN # 364233946 RISK ID # 121002094

POLICY E
PAGE 2

ST LOC CODE

IL 0001 5445

443-7300 AGENCY NO.

XTENSTON OF INFORMATION PAGE

CLASSIFICATION OF OPERATIONS

CLASSIFICATION DESCRIPTION

WALLBOARD INSTALLATION-WITHIN
BUILDINGS-& DRIVERS

5474 PAINTING OR PAPER HANGING NOC &
SHOP OPERATIONS, DRIVERS

5606 CONTRACTOR-PROJECT MANAGER, CON-
STRUCTION EXECUTIVE, CON-
STRUCTION MANAGER OR CON-
STRUCTION SUPERINTENDENT

8227 CONSTRUCT. OR ERECTION PERMANENT
YARD

8742 SALESPERSONS OR COLLECTORS—
OUTSIDE

8610 CLERICAL OFFICE EMPLOYEES NOC

SUB-TOTAL

9740 FOREIGN TERRORISM

9741 DOMESTIC TERR., EARTHQUAKE & CAT.

0930 WAIVER

9812 INCREASED COVERAGE IT

9931 MEDICAL DEDUCTIBLE

9898 EXPERIENCE MODIFICATION

9887 SCHEDULE MODIFICATION

DELETED, EFFECTIVE 01/01/2007

EST RATE
TOT-TERM PER $100
REMUN REMUN

4,425,408 10.09
2,146,560 11.33

1,472,640 4.41

41,600 12.07
166,192 0.59

507,884 0.34

SCHEDULE CONTINUED ON NEXT PAGE

ISSUE DATE 01/02/2007

R 225

1262678 02

EST

TERM
PREMIUM
446,524
243,205

64,943

5,021
981
1,727
762,401

4,390
1,752
2,000

21,403

19,645-

206, 863-
0
. Case: 1:12-cv-06425 Document #: 1-2 Filed: 08/14/12 Page 16 of 46 PagelID #:105
West Bend Mutual CUSTOMER # 0110109905 R 225

INSURANCE COMPANY-TIME TESTED SINCE 1804
1900 SOUTH 18TH AVENUE-WEST BEND, Wt 53095

STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCA 0457505-07

ENDORSEMENT EFFECTIVE 01/01/2007
ADDING ILLINOIS CONTRACTOR ADJUSTMENT FACTOR

NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS

1. PROCACCIO PAINTING CO, INC PRIME MBRIDIAN INS GROUP LTD
601 SIDWELL CT UNIT L 2700 INTERNATIONAL DR
ST CHARLES, IL 60174 WEST CHICAGO, IL 60185

(630)-443-7300 AGENCY NO. 1262678 02
FEIN # 364233946 RISK ID # 121002094

POLICY EXTENSION OF INFORMATION PAGE
PAGE 3
CLASSIFICATION OF OPERATIONS
EST RATE EST
ST LOC CODE CLASSIFICATION DESCRIPTION TOT-TERM PER $100 TERM
REMUN REMUN PREMIUM
9887 SCHEDULE MODIFICATION 30.0% 167, 789-
9046 CONTR ADJ .6700 129,197-
ITC OPERATIONS FUND SURCHARGE -O101 2,468
TOTAL FOR ILLINOIS 268,442

ISSUE DATE 01/02/2007
Case: 1:12-cv-06425 Document #: 1-2 Filed: 08/14/12 Page 17 of 46 PagelD #:106
West Bend Mutual CUSTOMER # 0110109905 R 225

INSURANCE COMPANY-TIME TESTED SINCE 1894
1900 SOUTH 18TH AVENUE-WEST BEND, WI 53005

STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCA 0457505-07

ENDORSEMENT EFFECTIVE 01/01/2007
ADDING TLLINOIS CONTRACTOR ADJUSTMENT FACTOR

NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS

1. PROCACCIO PAINTING Co, INC PRIME MERIDIAN INS GROUP LTD
601 SIDWELL CT UNIT L 2700 INTERNATIONAL DR
ST CHARLES, IL 60174 WEST CHICAGO, IL 60185

(630)-443-7300 AGENCY NO. 1262678 02
FEIN # 364233946 RISK ID # 121002094

POLICY ENDORSEMENT SCHEDULE

PAGE 4
NUMBER DESCRIPTION
WB1188 WEST BEND MOTUAL PRIVACY STATEMENT (01-06)
WCOOOQOO0A WORKERS COMP & EMPLOYERS LIAB.& INS.POL. (92-04}
wCoQodoo01A GENERAL INFORMATION PAGE NOTES (91-06)
WCO00310 SOLE PROP. PARTNERS OFFICERS & OTHERS END. (84-04)
wo000403 EXPERIENCE RATING MODIFICATION FACTOR END. (84-04)
WCOO0406 PREMIUM DISCOUNT ENDORSEMENT (84-08)
woooo4d14 NOTIFICATION OF CHANGE IN OWNERSHIP END. (90-07)
wCO120402 ILLINOIS CONT CLASS PREMIUM ADJUSTMENT END (92-09)
WBi130 IMPORTANT NOTICE - SUBCONTRACTORS (84-07)
WB409G NOTICE OF ELECT TO ACCEPT AN INS DED-ILL W.C. (06-01)
wooogoi13 TERRORISM RISK INSURANCE EXTENSION ACT END (06-01)
wooo0313 WAIVER OF OUR RIGHT TO REC FROM OTH END. (84-04)

SCHEDULE CONTINUED ON NEXT PAGE

ISSUE DATE 01/02/2007
. Case: 1:12-cv-06425 Document #: 1-2 Filed: 08/14/12 Page 18 of 46 PagelD #:107
West Bend Mutual CUSTOMER # 0110109905 R225

INSURANGE GOMPANY-TIME TESTED SINCE 1804
1900 SOUTH 18TH AVENUE-WEST BEND, WI 53095

STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCA 0457505-07

ENDORSEMENT EFFECTIVE 01/01/2007
ADDING ILLINOIS CONTRACTOR ADJUSTMENT FACTOR

NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS

1. PROCACCIO PAINTING CO, INC PRIME MBSRIDIAN INS GROUP LTD
601 SIDWELL CT UNIT L 2700 INTERNATIONAL DR
ST CHARLES, IL 60174 WEST CHICAGO, IL 60185

(630) -443-7300 AGENCY NO. 1262678 Q2
FEIN # 364233946 RISK ID # 121002094

POLICY ENDORSEMENT SCHEDULE
PAGE 5
NUMBER DESCRIPTION
woood4i9 PREMIUM DUE DATE ENDORSEMENT (01-01)
woood421A DOMESTIC TERRORISM, EARTHQUAKES, & CAT. INDUST. ACC(06-01}
woood422 FOREIGN TERRORISM PREMIUM ENDORSEMENT (06-01)
we120601C ILLINOIS AMENDATORY ENDORSEMENT (01-04)
WC120602A TLLINOIS MEDICAL BENEFITS DEDUCTIBLE (92-08)

ISSUE DATE 01/02/2007
Case: 1:12-cv-06425 Document #: 1-2 Filed: 08/14/12 Page 19 of 46 PagelD #:108
West Bend Mutual CUSTOMER # 0110109905 R 222

INSURANCE COMPANY: TIME TESTED SINCE 1894
1900 SOUTH 18TH AVENUE-WEST BEND, WI 53095

STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCA 0457505-07

RENEWAL
NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
1. PROCACCIO PAINTING CO, INC PRIME MERIDIAN INS GROUP LTD
601 SIDWELL CT UNIT L 2700 INTERNATIONAL DR
ST CHARLES, IL 60174 WEST CHICAGO, IL 60185

(630) -443-7300 AGENCY NO. 1262678 02
FEIN # 364233946 RISK ID # 121002094
NO ADDITIONAL LOCATIONS
ENTITY OF INSURED - CORPORATION
2. POLICY PERIOD - 01/01/2007 TO 01/01/2008 12:01 AM STANDARD TIME AT THE
ADDRESS OF THE INSURED AS STATED HEREIN.
3A. WORKERS COMPENSATION INSURANCE: PART ONE OF THE POLICY APPLIES TO THE WORKERS
COMPENSATION LAW OF THE STATES LISTED HERE: IL.
3B. EMPLOYERS LIABILITY INSURANCE: PART TWO OF THE POLICY APPLIES TO WORK IN EACH
STATE LISTED IN ITEM 3A. THE LIMITS OF OUR LIABILITY UNDER PART TWO ARE:

BODILY INJURY BY ACCIDENT $1,000,600 EACH ACCICENT
BODILY INJURY BY DISEASE $1,000,000 EACH EMPLOYEE
BODILY INJURY BY DISEASE $1,000,000 TOTAL POLICY

3C. OTHER STATES INSURANCE: PART THREE OF THE POLICY APPLIES TO ALL STATES
EXCEPT ND, OH,WA, WV,WY,AND THE STATES DESIGNATED IN 3A

3D. SEE ATTACHED SCHEDULE FOR LIST OF ENDORSEMENTS FORMING A PART OF THIS
POLICY.
4, THE PREMIUM FOR THIS POLICY WILL BE DETERMINED BY OUR MANUALS OF RULES,
CLASSIFICATIONS, RATES, AND RATING PLANS. ALL INFORMATION REQUIRED BELOW
IS SUBJECT TO VERIFICATION AND CHANGE BY AUDIT. ADJUSTMENT OF PREMIUM SHALL
BE MADE ANNUALLY.
CLASSIFICATION OF OPERATIONS

EST RATE EST
ST LOC CODE CLASSIFICATION DESCRIPTION TOT-TERM PER $100 TERM
REMUN REMUN PREMIUM
SEE EXTENSION OF INFORMATION PAGE 269,001
PREMIUM DISCOUNT: 9.3% $24, 447-
MINIMUM PREMIUM $1,000 {IL} EXPENSE CONSTANT: $280
ESTIMATED ANNUAL PREMIUM: $244,834
ASSESSMENTS & TAXES: $2,473 DEPOSIT PREMIOM: $247,307

*ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED ELSEWHERE IN THIS POLICY,
DO NOT MODIFY ANY OF THE OTHER PROVISIONS OF THIS POLICY.
COUNTERSIGNED THIS DAY OF , 20

AUTHORIZED REPRESENTATIVE

ISSUE DATE 12/28/2006
Case: 1:12-cv-06425 Document #: 1-2 Filed: 08/14/12 Page 20 of 46 PagelD #:109
West Bend Mutual CUSTOMER # 0110109995 R 222

INSURANCE COMPANY-TIME TESTED SINCE 1864
1800 SOUTH 18TH AVENUE-WEST BEND, WI 63085

STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCA 0457505-07

RENEWAL
NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
1. PROCACCIO PAINTING CO, INC PRIME MERIDIAN INS GROUP LTD
601 SIDWELL CT UNIT L 2700 INTERNATIONAL DR
ST CHARLES, IL 60174 WEST CHICAGO, IL 60185

(630)-443-7300 AGENCY NO. 1262678 02
FEIN # 364233946 RISK ID # 121002094

POLICY EXTENSION OF INFORMATION PAGE
PAGE 2

CLASSIFICATION OF OPERATICNS

EST RATE EST
ST Loc CODE CLASSIFICATION DESCRIPTION TOT-TERM PER $100 TERM
REMUN REMUN PREMIUM
IL 0001 5445 WALLBOARD INSTALLATION-WITHIN 4,425,498 10.09 446,524
BUILDINGS-& DRIVERS
5474 PAINTING OR PAPER HANGING NOC & 2,146,560 11.33 243,205
SHOP OPERATIONS, DRIVERS
5606 CONTRACTOR-PROVECT MANAGER, CON— 1,472,640 4.41 64,943
STRUCTION EXECUTIVE, CON-
STRUCTION MANAGER OR CON-
STRUCTION SUPERINTENDENT
8227 CONSTRUCT. OR ERECTION PERMANENT 41,600 12.07 5,021
YARD
8742 SALESPERSONS OR COLLECTORS- 166,192 0.359 981
OUTSIDE
8810 CLERICAL OFFICE EMPLOYEES NOC 507,884 0,34 4,727
SUB-TOTAL 762,401
9740 FOREIGN TERRORISM 0500 4,380
974h DOMESTIC TERR.,EARTHQUAKE & CAT. . 0200 1,752
0930 WAIVER 2,000
9812 INCREASED COVERAGE II 2.8% 21,403
9931 MEDICAL DEDUCTIBLE 2.5% 19,645-
9898 EXPERIENCE MODIFICATION - 7300 296, 863-
9887 SCHEDULE MODIFICATION 53.0% 296,427-
IIC OPERATIONS FUND SURCHARGE 0101 2,473
TOTAL FOR ILLINOIS 269,001

ISSUE DATE 12/28/2006
. Case: 1:12-cv-06425 Document #: 1-2 Filed: 08/14/12 Page 21 of 46 PagelID #:110
West Bend Mutual. CUSTOMER # 0110109905 R 222

INSURANCE COMPANY-TIME TESTED SINCE 189%
1900 SOUTH 18TH AVENUE-WEST BEND, WI 52085

STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCA 0457505-07

RENEWAL
NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
1. PROCACCIO PAINTING CO, INC PRIME MERIDIAN INS GROUP LTD
601 SIDWELL CT UNIT L 2700 INTERNATIONAL DR
ST CHARLES, IL 60174 WEST CHICAGO, IL 60185

(630)-443-7300 AGENCY NO. 1262678 Q2
FEIN # 364233946 RISK ID # 121002094

POLICY ENDORSEMENT SCHEDULE

PAGE 3
NUMBER DESCRIPTION
WB1188 WEST BEND MUTUAL PRIVACY STATEMENT (014-06)
woooocdodaA WORKERS COMP & EMPLOYERS LIAB.& INS.POL. (92-04)
wocodogdg1a GENERAL INFORMATION PAGE NOTES (91-06)
WCO00310 SOLE PROP. PARTNERS OFFICERS & OTHERS END. (84-04)
wedoc403 EXPERIENCE RATING MODIFICATION FACTOR END. (84-04)
woood406 PREMIUM DISCOUNT ENDORSEMENT (84-08)
woooo414 NOTIFICATION OF CHANGE IN OWNERSHIP END. (90-07)
Wwo120402 ILLINOIS CONT CLASS PREMIUM ADJUSTMENT END (92-09)
WB1130 IMPORTANT NOTICE - SUBCONTRACTORS (84-07)
WB409G NOTICE OF ELECT TO ACCEPT AN INS DED-ILL W.C. (06-01}
wood0113 TERRORISM RISK INSURANCE EXTENSION ACT END (06-01)
WC000313 WAIVER OF OUR RIGHT TO REC FROM OTH END. (84-04}

SCHEDULE CONTINUED ON NEXT PAGE

ISSUE DATE 12/28/2006
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West Bend Mutual CUSTOMER # 0110109905 R 222

INSURANCE COMPANY-TIME TESTED SINCE 1854
1900 SOUTH 18TH AVENUE-WEST BEND, 1 53095

STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCA 0457505-07

RENEWAL
NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
1. PROCACCIO PAINTING CO, INC PRIME MERIDIAN INS GROUP LTD
601 SIDWELL CT UNIT L 2700 INTERNATIONAL DR
ST CHARLES, IL 60174 WEST CHICAGO, IL 60185

(630)-443-7300 AGENCY NO. 1262678 02
FEIN # 364233946 RISK ID # 121002094

POLICY ENDORSEMENT SCHEDULE
PAGE 4
NUMBER DESCRIPTION
wooo0419 PREMIUM DUE DATE ENDORSEMENT (01-01)
woooo421a DOMESTIC TERRORISM, EARTHQUAKES, & CAT. INDUST. ACC (06-01)
wCoOdd422 FOREIGN TERRORISM PREMIUM ENDORSEMENT (06-01)
WC120601C ILLINOIS AMENDATORY ENDORSEMENT (01-04)

WC120602A ILLINOIS MEDICAL BENEFITS DEDUCTIBLE (92-08)

ISSUE DATE 12/28/2006
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY
WC 00 03 10 (04-84)

SOLE PROPRIETORS, PARTNERS, OFFICERS AND OTHERS COVERAGE ENDORSEMENT

An ejection was made by or on behalf of each person described in the Schedule to be subject to the workers
compensation law of the state named in the Schedule. The premium basis for the policy includes the re-
muneration of such persons.

Schedule

Persons State

Sole Proprietor:

Partners:

Officers:

DORIS PROCACCIO IL
ANTONIO PROCACCIO (12/13/1957) IL

Others:

This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
(The information below is required only when this endorsement is issued subsequent to preparation of the policy.)

Endorsement Effective Policy No. Endorsement No.
Insured Premium $
Insurance Company Countersigned By

WC 00 03 10 (04-84)

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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY

WC_00 03.13 (Ed_04 84}
WAIVER OF OUR RIGHT TO RECOVER FROM OTHERS ENDORSEMENT

We have the right to recover our payments from anyone liabie for an injury covered by this policy. We will not
enforce our right against the person or organization named in the Schedule. (This agreement applies only to the
extent that you perform work under a written contract that requires you to obtain this agreement from us.)

This agreement shall not operate directly or indirectly to benefit anyone not named in the Schedule.
Schedule

ANY PARTY WITH WHOM THE INSURED AGREES TO WAIVE SUBROGATION
IN A WRITTEN CONTRACT.

This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.

(The information below is required only when this endorsement is issued subsequent to preparation of the policy.)

Endorsement Effective Policy No. Endorsement No.

Insured Premium $

Insurance Company Countersigned by

WC 00 03 13 (04 84) Page 1 of 1

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WEST BEND PRIVACY STATEMENT

At West Bend your Privacy is Important to us!

West Bend is committed to providing you, our Customer, with the finest insurance products backed by legendary ser-
vice. While information is fundamental to our ability to serve our Customers, we recognize the importance of maintain-
ing the privacy of your personal information.

Therefore, the following are principles that West Bend has established for the gathering and sharing of consumer
information:

* We do not and will not self your personal information to anyone.

« We maintain physical, electronic, and procedural safeguards that comply with applicable privacy regulations in order
to protect your non-public personal information.

* We collect and use Customer information only to the extent required to conduct our business and to meet the high-
est quality service standards.

e We require any organization that helps us serve our Customers to meet our privacy standards.

* We exchange Customer information with non-affiliated entities only to the extent required or permitted by law, for
underwriting, administrative, or risk management purposes, verification, and to detect and prevent fraud.

GATHERING OF INFORMATION

We obtain information about you, our Customer, from your applications, transactions, and other interactions with us,
as well as credit reporting agencies and other third parties. We obtain and use this information only in accordance with
applicable law or in response to your request for a contract with us. The information we gather helps us identify who
you are, manage our relationship with you, and develop insurance products and services that meet your needs.

SHARING OF INFORMATION

We are dedicated to serving our Customers’ needs for privacy. We do NOT share our Customer's non-public personal
information with non-affiliated companies except as permitted or required by law. We restrict access to your nonpublic
personal information to our employees and agents who need to know that information to provide products or services
to you. We will not reveal our Customer information to any external organization unless we have previously informed
our Customer in this or other disclosures or agreements, have been authorized by our Customer, or are otherwise
required by law ta do so.

We will not use or share with non-affiliated companies personally identifiable medical information for any purpose
other than the underwriting or administration of our Customer's policy or claim, or as disclosed to our Customer when
the information ts collected, or to which our Customer consents.

MONITORING OF PRIVACY PRACTICES

We will monitor our practices to insure that our Customers’ privacy is respected. We will also conduct our business in
a manner that meets the privacy regulations of any state in which we do business.

WB 1188 06 01 West Bend Mutual Insurance Company Page 1 of 1
West Bend. Wisconsin 53095
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY
WC 00 00 00 A (Ed. 04 92)

WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY

In return for the payment of the premium and subject PART ONE

to ail terms of this policy, we agree with you as follows: WORKERS COMPENSATION INSURANCE
GENERAL SECTION A. How This Insurance Applies

A. The Policy This workers compensation insurance applies to

This policy includes at its effective date the Infor-
mation Page and all endorsements and schedules
listed there. It is a contract of insurance between
you (the employer named in Item 1 of the Informa-
tion Page} and us (the insurer named on the Infor-
mation Page). The only agreements relating to this
insurance are stated in this policy. The terms of
this policy may not be changed or waived except by
endorsement issued by us to be part of this policy.

. Who is Insured

You are insured if you are an employer named in
Item 1 of the Information Page. If that employer is a
partnership, and if you are one of its partners, you
are insured, but only in your capacity as an em-
ployer of the partnership’s employees.

. Workers Compensation Law

Workers Compensation Law means the workers or
workmen's compensation law and occupational
disease law of each state or territory named in Item
3.4. of the Information Page. It includes any
amendments to that law which are in effect during
the policy period, It does not include any federal
workers or workmen's compensation law, any fed-
eral occupationai disease law or the provisions of
any law that provide nonoccupational disability
benefits.

. State

State means any state of the United States of
America, and the District of Columbia.

. Locations

This policy covers all of your workplaces listed in
tems 1 or 4 of the Information Page; and it covers
all other workplaces in Item 3.A. states uniess you
have other insurance or are self-insured for such
workplaces.

WC 00 00 00 A (04 92)
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co.

bodily injury by accident or bodily injury by disease.
Bodily injury includes resulting death.

1. Bodily injury by accident must occur during the
policy period.

2. Bodily injury by disease must bé caused or
aggravated by the conditions of your employ-
ment. The employee's last day of last exposure
to the conditions causing or aggravating such
bodily injury by disease must occur during the
policy period.

. We Will Pay

We will pay promptly when due the benefits re-
quired of you by the workers compensation law.

. We Will Defend

We have the right and duty to defend at our ex-
pense any claim, proceeding or suit against you for
benefits payable by this insurance. We have the
right to investigate and settle these claims, pro-
ceedings or suits.

We have no duty to defend a claim, proceeding or
suit that is not covered by this insurance,

. We Will Also Pay

We will also pay these costs, in addition to other
amounts payable under this insurance, as part of
any claim, proceeding or suit we defend:

1. reasonable expenses incurred at our request,
but not loss of earnings;

2. premiums for bonds to release attachments and
for appeal bonds in bond amounts up to the
amount payable under this insurance;

litigation costs taxed against you;

4. interest on a judgment as required by law untit
we offer the amount due under this insurance;
and

5. expenses we incur.

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E. Other Insurance

We will not pay more than our share of benefits
and costs covered by this insurance and other in-
surance or self-insurance. Subject to any limits of
liability that may apply, all shares will be equal until
the toss is paid. If any insurance or self-insurance
is exhausted, the shares of all remaining insurance
will be equal until the loss is paid.

. Payments You Must Make

You are responsible for any payments in excess of
the benefits regularly provided by the workers com-
pensation law including those required be-cause:

1. of your serious and willful misconduct;

2. you knowingly employ an employee in violation
of law;

3. you fait to comply with a health or safety law or
regulation; or

4, you discharge, coerce or otherwise discriminate
against any employee in violation of the workers
compensation law.

If we make any payments in excess of the benefits
regularly provided by the workers compensation
law on your behalf, you will reimburse us promptly.

. Recovery From Others

We have your rights, and the rights of persons en-
titled to the benefits of this insurance, to recover
our payments from anyone liable for the injury. You
will do everything necessary to protect those rights
for us and to help us enforce them.

. Statutory Provisions

- These statements apply where they are required by
law.

1. As between an injured worker and us, we have
notice of the injury when you have notice.

2. Your default or the bankruptcy or insolvency of
you or your estate will not relieve us of our du-
ties under this insurance after an injury occurs.

3. Weare directly and primarily liable to any per-
son entitled to the benefits payable by this in-
surance. Those persons may enforce our du-
ties; so may an agency authorized by law. En-
forcement may be against us or against you
and us.

4. Jurisdiction over you is jurisdiction over us for
purposes of the workers compensation law. We
are bound by decisions against you under that
law, subject to the provisions of this policy that
are not in conflict with that law.

Page 2 of 6

5. This insurance conforms to the parts of the
workers compensation law that apply to:

a. benefits payable by this insurance;

b. special taxes, payments into security or
other special funds, and assessments pay-
able by us under that law.

6. Terms of this insurance that conflict with the
workers compensation law are changed by this
statement to conform to that law.

Nothing in these paragraphs relieves you of your
duties under this policy.

PART TWO
EMPLOYERS LIABILITY INSURANCE
A. How This Insurance Applies

This employers liability insurance applies to bodily
injury by accident or bodily injury by disease. Bodily
injury includes resulting death.

4. The bodily injury must arise out of and in the
course of the injured employee's employment
by you.

2. The employment must be necessary or inci-
dental to your work in a state or territory listed in
Item 3.4. of the Information Page.

3. Bodily injury by accident must occur during the
policy period.

4. Bodily injury by disease must be caused or
aggravated by the conditions of your employ-
ment. The employee's last day of last exposure
to the conditions causing or aggravating such
bodily injury by disease rust occur during the
policy period.

5. If you are sued, the original suit and any related
legal actions for damages for bodily injury by
accident or by disease must be brought in the
United States of America, its territories or pos-
sessions, or Canada.

. We Will Pay

We will pay all sums you /egally must pay as dam-
ages because of bodily injury to your employees,
provided the bodily injury is covered by this Em-
ployers Liability Insurance.

The damages we will pay, where recovery is per-
mitted by law, include damages:

1. for which you are liable to a third party by rea-
son of a claim or suit against you by that third
party to recover the damages claimed against
such third party as a result of injury to your em-
ployee;

2. for care and loss of services; and

WC 00 00 00 A (04 92)

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3. for consequential bodily injury to a spouse,
child, parent, brother or sister of the injured
employee;

provided that these damages are the direct conse-

quence of bodily injury that arises out of and in the

course of the injured employee's employment by
you; and

4. because of bodily injury to your employee that
arises cut of and in the course of employment,
claimed against you in a capacity other than as
employer,

. Exclusions
This insurance does not cover:

1. liability assumed under a contract. This exclu-
sion does not apply to a warranty that your work
will be done in a workmanlike manner;

2. punitive or exemplary damages because of
bodily injury to an employee employed in viola-
tion of law,

3. bodily injury to an employee while employed in
violation of law with your actual knowledge or
the actual knowledge of any of your executive
officers;

4. any obligation imposed by a workers compen-
sation, occupational disease, unemployment
compensation, or disability benefits law, or any
similar law;

5. bodily injury iritentionally caused or aggravated
by you;

6. bodily injury occurring outside the United States
of America, its territories or possessions, and
Canada. This exclusion does not apply to bodily
injury to a citizen or resident of the United
States of America or Canada who is temporarily
out-side these countries;

7. damages arising out of coercion, criticism, de-
motion, evaluation, reassignment, discipline,
defamation, harassment, humiliation, discrimi-
nation against or termination of any employee,
or any personnel practices, policies, acts or
omissions;

8. bodily injury to any person in work subject to the
Longshore and Harbor Workers’ Compensation
Act (33 USC Sections 901-950), the Non-
appropriated Fund Instrumentalities Act (6 USC
Sections 8171-8173), the Outer Continental
Shelf Lands Act (43 USC Sections 1331-
1356), the Defense Base Act (42 USC
Sections 1651-1654), the Federal Coal Mine
Health and Safety Act of 1969 (30 USC
Sections 901-942), any other federal workers
or workmen's compensation law or other federal
occupational disease law, or any amendments
to these laws;

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§. bodily injury to any person in work subject to the
Federal Empfoyers' Liability Act (45 USC Sec-
tions 51-60), any other federal iaws obligating
an employer to pay damages to an employee
due to bodily injury arising out of or in the
course of employment, or any amendments to
those laws;

10. bodily injury to a master or member of the crew
of any vessel;

11. fines or penalties imposed for violation of fed-
eral or state law; and

12. damages payable under the Migrant and Sea-
sonal Agriculturat Worker Protection Act (29
USC Sections 1801-1872) and under any other
federal law awarding damages for violation of
those laws or regulations issued thereunder,
and any amendments to those laws. :

D. We Will Defend

We have the right and duty to defend, at our ex-
pense, any claim, proceeding or suit against you for
damages payable by this insurance. We have the
right to investigate and settle these claims, pro-
ceedings and suits.

We have no duty to defend a claim, proceeding or
suit that is not covered by this insurance. We have
no duty to defend or continue defending after we
have paid our applicable limit of liability under this
insurance,

. We Will Also Pay

We will also pay these costs, in addition to other
amounts payable under this insurance, as part of |
any claim, proceeding, or suit we defend:

1. reasonable expenses incurred at our request,
but not loss of earnings;

2. premiums for bonds to release attachments and
for appeal bonds in bond amounts up to the .
limit of our fiability under this insurance;

3. litigation costs taxed against you;

4, interest on a judgment as required by law until
we offer the amount due under this insurance;
and

§, expenses we incur.

. Other Insurance

We will not pay more than our share of damages
and costs covered by this insurance and other in-
surance or self-insurance, Subject to any limits of
liability that apply, all shares will be equal until the
loss is paid. lf any insurance or self-insurance is
exhausted, the shares of all remaining insurance
and self-insurance will be equal until the loss is
paid.

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PART THREE
OTHER STATES INSURANCE
A. How This Insurance Applies

G. Limits of Liability

Our liability to pay for damages is limited. Our limits
of liability are shown in Item 3.B. of the Information

Page. They apply as explained below.

4. Bodily Injury by Accident. The limit shown for
“bodily injury by accident—each accident” is the
most we will pay for all damages covered by
this insurance because of bodily injury to one or
more employees in any one accident.

A disease is not bodily injury by accident unless
it results directly from bodily injury by accident.

2. Bodily Injury by Disease. The limit shown for
“bodily injury by disease—policy limit" is the
most we will pay for all damages covered by
this insurance and arising out of bodily injury by
disease, regardless of the number of ernploy-
ees who sustain bodily injury by disease. The
limit shown for “bodily injury by disease—each
employee" is the most we will pay for all dam-
ages because of bodily injury by disease to any

- one employee.

Bodily injury by disease does not include dis-
ease that results directly from a bodily injury by
accident.

3. We will not pay any claims for damages after
we have paid the applicable limit of our liability
under this insurance.

. Recovery From Others

We have your rights to recover our payment from
anyone liable for an injury covered by this insur-
ance. You will do everything necessary to protect
those rights for us and to help us enforce them.

. Actions Against Us

There will be no right of action against us under
this insurance unless:

1. You have complied with ail the terms of this
policy; and

2. The amount you owe has been determined with
our consent or by actual trial and final judg-
ment.

This insurance does not give anyone the right to
add us as a defendant in an action against you to
deter-mine your liability. The bankruptcy or insol-
vency of you or your estate will not relieve us of our
obligations under this Part.

Page 4 of 6

1. This other states insurance applies only if one
or more states are shown in Item 3.C. of the
Information Page.

2. If you begin work in any one of those states
after the effective date of this policy and are not
insured or are not self-insured for such work, all
pravisions of the policy will aoply as though that
state were listed in Item 3.A. of the Information
Page.

3. We will reimburse you for the benefits required
by the workers compensation law of that state if
we are not permitted to pay the benefits directly
to persons entitled to them.

.4. If you have work on the effective date of this
policy in any state not listed in Item 3.4. of the
Information Page, coverage will not be afforded
for that state unless we are notified within thirty
days.

B. Notice

Tell us at once if you begin work in any state listed
in Item 3.C. of the Information Page.

PART FOUR
YOUR DUTIES IF INJURY OCCURS

Tell us at once if injury occurs that may be cavered
by this policy. Your other duties are listed here.

1. Provide for immediate medical and other serv-
ices required by the workers compensation law.

2. Give us or our agent the names and addresses
of the injured persons and of witnesses, and
other information we may need.

3. Promptly give us all notices, demands and legal
papers related to the injury, claim, proceeding
or suit,

4. Cooperate with us and assist us, as we may re-
quest, in the investigation, settlement or de-
fense of any claim, proceeding or suit.

5. Do nothing after an injury occurs that would
interfere with our right to recover from others.

6. Do not voluntarily make payments, assume
obligations or incur expenses, except at your
own cost,

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If this policy is canceled, final premium will be de-
termined in the following way unless our manuals

PART FIVE—PREMIUM
A. Our Manuals

All premium for this policy will be determined by our
manuals of rules, rates, rating plans and classifica-
tions. We may change our manuals and apply the
changes to this policy if authorized by law or a gov-
ernmental agency regulating this insurance.

. Classifications

Item 4 of the Information Page shows the rate and
premium basis for certain business or work classi-
fications. These classifications were assigned
based on an estimate of the exposures you would
have during the policy period. If your actual expe-
sures are not properly described by those classifi-
cations, we will assign proper classifications, rates
and premium basis by endorsement to this policy.

. Remuneration

Premium for each work classification is determined
by multiplying a rate times a premium basis. Re-
muneration is the most common premium basis.
This premium basis includes payroll and all other
remuneration paid or payable during the policy pe-
riod for the services of:

1. all your officers and employees engaged in
work covered by this policy; and

2. all other persons engaged in work that could
make us liable under Part One (Workers Com-
pensation insurance) of this policy. If you do not
have payroll records for these persons, the con-
tract price for their services and materials may
be uséd as the premium basis. This paragraph
2 will not apply if you give us proof that the em-
ployers of these persons lawfully secured their
workers compensation obligations.

. Premium:Payments

You will pay all premium when due. You will pay the
premium even if part or all of a workers compensa-
tion law is not valid.

. Fioal Premium

The premium shown on the Information Page,
schedules, and endorsements is an estimate. The
final premium will be determined after this policy
ends by using the actual, not the estimated, pre-
mium basis and the proper classifications and
rates that lawfuily apply to the business and work
covered by this policy. If the final premium is more
than the premium you paid to us, you must pay us
the balance. If it is less, we will refund the balance
to you. The final premium will not be less than the
highest minimum premium for the classifications
covered by this policy.

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provide otherwise:

1. If we cancel, final premium will be calculated
pro rata based on the time this policy was in
force. Final premium will not be less than the

_ pro rata share of the minimum premium.

2. If you cancel, final premium will be more than
pro rata; it will be based on the time this policy
was in force, and increased by our short-rate
cancelation table and procedure. Final premium
will not be less than the minimum premium.

. Records

You will keep records of information needed to
compute premium. You will provide us with copies
of those records when we ask for them.

. Audit

You will fet us examine and audit all your records
that relate to this policy. These records include
ledgers, journals, registers, vouchers, contracts,
tax reports, payroll and disbursement records, and
pro-grams for storing and retrieving data. We may
con-duct the audits during regular business hours
during the policy period and within three years after
the policy period ends. Information developed by
audit will be used to determine final premium. In-
surance rate service organizations have the same
rights we have under this prevision.

PART SIX—-CONDITIONS
A. inspection

We have the right, but are not obliged to inspect
your workplaces at any time. Our inspections are
not safety inspections. They relate only to the in-
surability of the workplaces and the premiums to be
charged. We may give you reports on the condi-
tions we find. We may also recommend changes.
While they may help reduce losses, we do not un-
dertake to perform the duty of any person to pro-
vide for the health or safety of your employees or
the public. We do not warrant that your workplaces
are safe or healthful or that they comply with laws,
regulations, codes or standards. Insurance rate
service organizations have the same rights we have
under this provision.

. Long Term Policy

If the policy period is longer than one year and six-
teen days, all provisions of this policy will apply as
though a new policy were issued on each annual
anniversary that this policy is in force.

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C. Transfer of Your Rights and Duties

Your rights or duties under this policy may not be
transferred without our written consent.

If you die and we receive notice within thirty days
after your death, we will cover your legal represen-
tative as insured.

B. Cancelation

4. You may cancel this policy. You must mail or
deliver advance written notice to us stating
when the cancelation is to take effect.

3. The policy period will end on the day and hour
stated in the cancelation notice.

4. Any of these provisions that conflict with a law
that controls the cancelation of the insurance in
this policy is changed by this statement to com-
ply with the law.

E. Sole Representative
The insured first named in Item 1 of the Information
Page will act on behalf of all insureds to change

this policy, receive return premium, and give or re-
ceive notice of cancelation.

2. We may cancel this policy. We must mail or de- _

liver to you not less than ten days advance
written notice stating when the cancelation is to
take effect. Mailing that notice to you at your
mailing address shown in Item 1 of the !nfor-
mation Page will be sufficient to prove notice.

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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY
WC 00 00 01 A (Ed. 06 91)

GENERAL INFORMATION PAGE NOTES

1. Insurance carriers may show a renewal agreement statement on the standard Information Page when a policy is
renewed. The carrier must show “Renewal Agreement” or a like heading along with the title “Information Page” if a
renewal agreement statement is shown on the Information Page.

2. Insurance carriers showing a renewal agreement statement on the Information Page or entering into a renewal
agreement not shown on the Information Page may list any or all endorsements in Item 3.D., elsewhere on the In-
formation Page or in an Information Page Schedule. A carrier is not required to attach such listed endorsements to
the Information Page and Policy if the endorsements have already been provided to the insured by that carrier.

3. These General Information Page Notes do not affect the standard Information Page entry requirements set forth in
the Information Page Notes.

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Copvriaht 1988.1991. National Council on Compensation Insurance. Inc.
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY
WC 00 04 03 (Ed. 04 94)

EXPERIENCE RATING MODIFICATION FACTOR ENDORSEMENT

The premium for the policy will be adjusted by an experience rating medification factor. The factor was not available
when the policy was issued. The factor, if any, shown on the Information Page is an estimate. We will issue an en-
dorsement to show the proper factor, if different from the factor shown, when it is calculated.

This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.

(The information below is required only when this endorsement is issued subsequent to preparation of the policy.)

Endorsement Effective Policy No. Endorsement No.

Insured Premium $

Insurance Company Countersigned by

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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY
WC 00 04 06 (Ed. 08 84)

PREMIUM DISCOUNT ENDORSEMENT

The premium for this policy and the policies, if any, listed in Item 3 of the Schedule may be eligible for a discount. This
endorsement shows your estimated: discount in Items 1 or 2 of the Schedule. The final calculation of premium dis-
count will be determined by our manuals and your premium basis as determined by audit. Premium subject to retro-
spective rating is not subject to premium discount.

Schedule
1. State Estimated Eligible Premium
First Next Next
$5,000 $95,000 $400,000 Balance

2. Average percentage discount: %

G

. Other policies:

4. |f there are no entries in Items 1, 2 and 3 of the Schedule, see the Premium Discount Endorsement attached to
your policy number:

This endorsement changes the policy to which it is attached and is effective on the date issued untess otherwise stated.

(The information below is required only when this endorsement is issued subsequent to preparation of the policy.)

Endorsement Effective Policy No. Endorsement No.

Insured Premium $

Insurance Company Countersigned by

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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY
WC 00 04 14 (Ed. 07 90)

NOTIFICATION OF CHANGE IN OWNERSHIP ENDORSEMENT

Experience rating is mandatory for all eligible insureds. The experience rating modification factor, if any, applicable to
this policy, may change if there is a change in your ownership or in that of one or more of the entities eligible to be
combined with you for experience rating purposes. Change in ownership includes sales, purchases, other transfers,
mergers, consolidations, dissolutions, formations of a new entity and other changes provided for in the applicable
experience rating plan manual.

You must report any change in ownership to us in writing within 90 days of such change. Failure to report such
changes within this period may result in revision of the experience rating modification factor used to determine your
premium.

This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.

(The information below is required only when this endorsement is issued subsequent to preparation of the policy.)

Endorsement Effective Policy No. Endorsement No.

Insured Premium $

Insurance Company Countersigned by

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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY
WC 12 04 02 (Ed. 09-92)

ILLINCIS CONTRACTING CLASSIFICATION PREMIUM ADJUSTMENT ENDORSEMENT

The premium for the policy may be adjusted by an Illinois Contracting Classification Premium Adjustment factor. The
factor was not available when the policy was issued. If you qualify, or if an estimated factor has been applied, we will
issue an endorsement to show the proper premium adjustment factor after it is calculated.

This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.

(The information below is required only when this endorsement is issued subsequent to preparation of the policy.)

Endorsement Effective Policy No. Endorsement No.
Insured Premium $
Insurance Company Countersigned by

WC 12 04 02 (09-92)

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IMPORTANT NOTICE

You may be required under the Workers’ Compensation law of your state to include liability for compensation to em-
ployees of contractors (or subcontractors) as well as to contractors (or subcontractors) without employees performing
work for you. We will therefore require you to report to us at time of final audit the entire payment made to such con-
tractors (or subcontractors) and a premium shall be made based upon the company's rate or rates applicable to the
trade, business, profession or occupation of the contractor (or subcontractor).

If, however, the contractor (or subcontractor) has furnished a Certificate of Insurance indicating he has Workers’
Compensation coverage, we will not make a premium charge provided the Certificate of Insurance is furnished to our
auditor at the time of audit.

We are advising you of this information at this time to prevent any misunderstanding at audit time. Please request
proper Insurance Certificates from each of your subcontractors.

WB 1130 07 84 West Bend Mutual Insurance Company Page 1 of 1
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NOTICE OF ELECTION TO ACCEPT AN
INSURANCE DEDUCTIBLE FOR ILLINOIS
WORKERS' COMPENSATION MEDICAL BENEFITS

Illinois law permits you to purchase your Workers' Compensation Insurance with a $1,000 deductible. The de-
ductible is for medical benefits only and applies separately to each accident.

A credit of 2.5% is allowed with the acceptance of this deductible. This 2.5% reduction in premium is subject to
approval by the Illinois Insurance Department.

if you want this deductible to apply, you must complete this form and return it to West Bend Mutual Insur-
ance Company.

(1 $#Yes, | want a deductible of $1,000 applied to medical benefits under the Illinois Workers' Compensation law. t
understand that the company shall pay the deductible amount and seek reimbursement from the

Named Insured shown below.

Named tnsured Customer/Policy Number
Signature of Owner or Authorized Officer Date
WB 409 G 01 06 West Bend Mutual Insurance Company Page 1 of 1

West Bend, Wisconsin 53095
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY
WC 00 01 13 (Ed. 01-06)

TERRORISM RISK INSURANCE EXTENSION ACT ENDORSEMENT

This endorsement addresses the requirements of the Terrorism Risk Insurance Act of 2002 as amended and extended
by the Terrorism Risk Insurance Extension Act of 2005.

Definitions

The definitions provided in this endorsement are based on the definitions in the Act and are intended to have the same
meaning. If words or phrases not defined in this endorsement are defined in the Act, the definitions in the Act will
apply.“Act" means the Terrorism Risk Insurance Act of 2002, which took effect on November 26, 2002, and any
amendments resulting from the Terrorism Risk insurance Extension Act of 2005.

“Act of terrorism" means any act that is certified by the Secretary of the Treasury, in concurrence with the Secretary of
State, and the Attorney General of the United States as meeting all of the following requirements:

a. The act is an act of terrorism.
b, The act is violent or dangerous to human life, property or infrastructure.

c, The act resulted in damage within the United States, or outside of the United States in the case of United
* States missions or certain air carriers or vessels.

d. The act has been committed by an individual or individuals acting on behalf of any foreign person or foreign
interest, as part of an effort to coerce the civilian population of the United States or to influence the policy or
affect the conduct of the United States Government by coercion.

“Insured terrorism or war loss” means any loss resulting from an act of terrorism (including an act of war, in the case of
workers compensation) that is covered by primary or excess property and casualty insurance issued by an insurer if
the [oss occurs in the United States or at United States missions or to certain air carriers or vessels.

“Insurer deductible” means:

a. For the period beginning on November 26, 2002 and ending on December 31, 2002, an amount equal to 1% of
our direct earned premiums, as provided in the Act, over the calendar year immediately preceding November
26, 2002.

b. For the period beginning on January 1, 2003 and ending on December 31, 2003, an amount equal to 7% of our
direct earned premiums, as provided in the Act, over the calendar year immediately preceding January 1, 2003.

c. For the period beginning on January 1, 2004 and ending on December 31, 2004, an amount equal to 10% of
our direct earned premiums, as provided in the Act, over the calendar year immediately preceding January 1,
2004.

d. For the period beginning on January 1, 2005 and ending on December 31, 2005, an amount equal to 15% of
our direct earned premiums, as provided in the Act, over the calendar year immediately preceding January 1,
2005.

e. For the period beginning on January 1, 2006 and ending on December 31, 2006, an amount equal to 17.5% of
our direct earned premiums, as provided in the Act, over the calendar year immediately preceding January 1,
2006.

f. For the period beginning on January 1, 2007 and ending on December 31, 2007, an amount equal to 20% of
our direct earned premiums, as provided in the Act, over the calendar year immediately preceding January 1,
2007.

Limitation of Liability

The Act may limit our liability to you under this policy. If annual aggregate insured terrorism or war losses of all
insurers exceed $100,000,000,000 during the applicable period provided in the Act, and if we have met our insurer
deductible, the amount we will pay for insured terrorism or war losses under this policy will be limited by the Act, as
determined by the Secretary of the Treasury.

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Policyholder Disclosure Notice

1. Insured terrorism or war losses would be partially reimbursed by the United States Government under a formula
established by the Act. Under this formula, the United States Government would pay 90% for Program Year 4 and
85% for Program Year 5 of our insured terrorism or war losses exceeding our insurer deductible.

2. The premium charged for the coverage this policy provides for insured terrorism or war tosses is included in the
amount shown in Item 4 of the Information Page or in the Schedule in the Foreign Terrorism Premium

Endorsement (WC 00 04 22), attached to this policy.

This endorsement changes the policy to which it Is attached and is effective on the date issued unless otherwise stated.

(The information below is required only when this endorsement is issued subsequent to preparation of the policy.)

Endorsement Effective Policy No. Endorsement No.
Insured Premium:
Insurance Company Countersigned by

WC 00 01 13 (01 06) Page 2 of 2

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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY
WC 00 04 19 (Ed. 0101}

PREMIUM DUE DATE ENDORSEMENT

This endorsement is used to amend:
Section D. of Part Five of the policy is replaced by this provision.

PART FIVE
PREMIUM

D. Premium is amended to read:

You will pay all premium when due. You will pay the premium even if part or all of a workers compensation law is
not valid. The due date for audit and retrospective premiums is the date of the billing.

This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.

{The information below is required only when this endorsement is issued subsequent to preparation of the policy.)

Endorsement Effective Policy No. Endorsement No.

Insured Premium $

Insurance Company Countersigned by

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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY
WC 00 04 21 A (Ed. 01 06)

DOMESTIC TERRORISM, EARTHQUAKES, AND CATASTROPHIC
INDUSTRIAL ACCIDENTS PREMIUM ENDORSEMENT

This endorsement is notification that your insurance carrier is charging premium to cover the losses that may
occur in the event of domestic terrorism, earthquakes and/or a catastrophic industrial accident.

The premium charge provides funding for the risk of earthquakes, catastrophic industrial accidents, and certain
acts of domestic terrorism. It does not provide funding for acts of terrorism certified as such by the Terrorism Risk
Insurance Act of 2002 and any amendments resulting from the Terrorism Risk Insurance Extension Act of 2005
(the Act), or acts of foreign terrorism as that term is defined in the Foreign Terrorism Premium Endorsement
(VC 00 04 22), attached to this policy.

For purposes of this endorsement, the following definitions apply:

Domestic terrorism: All acts of terrorism outside the scope of the Act or the Foreign Terrorism Premium En-
dorsement (WC 00 04 22}, with aggregate workers compensation losses in excess of $50 million.

Earthquake: The shaking and vibration at the surface of the earth resulting from underground movement along
a fault plane or from volcanic activity where aggregate workers compensation losses from the single event are
in excess of $50 million.

Catastrophic Industrial Accident: Any single event resulting in aggregate workers compensation losses in ex-
cess of $50 million.

Schedule
Payroll Rate

See Declarations

This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.

{The information below is required only when this endorsement is issued subsequent to preparation of the policy.)

Endorsement Effective Policy No. Endorsement No.

Insured Premium:

Insurance Company Countersigned by

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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY
WC 00 04 22 (Ed. 01-06)

FOREIGN TERRORISM PREMIUM ENDORSEMENT

This endorsement is notification that your insurance carrier is charging premium for losses that may occur in the event
of an act of foreign terrorism.

Your policy provides coverage for workers compensation losses caused by acts of foreign terrorism, including workers
compensation benefit obligations dictated by state law. Coverage for such losses is still subject to all terms,
definitions, exclusions, and conditions in your policy, and any applicable federal and/or state laws, rules, or
regulations.

For purposes of this endorsement, an “act of foreign terrorism” is defined as:
a. Any act that is violent or dangerous to human life, property or infrastructure; and

b. The act has been committed by an individual or individuals acting on behalf of any foreign person or foreign
interest, as part of an effort to coerce the civilian population of the United States or to influence the policy or
affect the conduct of the United States Government by coercion.

The premium charge for the coverage your policy provides for workers compensation losses caused by an act of
foreign terrorism is shown in Item 4 of the Information Page or in the Schedule below.

Schedule

State Rate per $100 of payroll

See Declarations See Declarations

This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.

(The information below is required only when this endorsement is issued subsequent to preparation of the policy.)

Endorsement Effective Policy No. Endorsement No.
Insured Premium $
Insurance Company Countersigned by

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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY
WC 12 06 01 C (Ed. 04 01)

ILLINOIS AMENDATORY ENDORSEMENT

This endorsement applies only to the insurance provided by the policy because Illinois is shown in Item 3.A. of the
Information Page.

Part Six (Conditions), Condition A. Inspection, Condition D. Cancellation and Condition E. Sole Representative of
the policy are replaced by these four Conditions.

Inspection

We have the right, but are not obliged, to inspect your workplaces at any time. Our inspections are not safety inspec-
tions. They relate only to the insurability of the workplaces and the premiums to be charged. We may give you reports
on the conditions we find. We may also recommend changes. While they may help reduce losses, we do not under-
take to perform the duty of any person to provide for the health or safety of your employees or the public. We do not
warrant that your workplaces are safe or healthful or that they comply with laws, regulations, codes or standards, The
National Council on Compensation Insurance has the same rights we have under this provision.

Cancellation

41. You may cancel this policy. You will mail or deliver advance written notice to us, stating when the cancellation is to
take effect.

2. We may cancel this policy. We will mail to each named insured and to the broker or the agent of record advance
written notice stating when the cancellation is to take effect.

3. If we cancel because you do not pay all premium when due, we will mail the notice of cancellation at least ten days
before the cancellation is to take effect. If we cancel for any ‘other reason, we will mail the notice:

a. atleast 30 days before the cancellation is to take effect if the policy has been in force for 60 days or less;

b. at least 60 days before the cancellation is to take effect if the policy has been in force for more than 60 days.
4. If this policy has been in effect for 60 days or more, we may cancel only for one of the following reasons:

a. Nonpayment of premium.
The policy was issued because of a material misrepresentation.
You violated any of the material terms and conditions of the policy.
There are unfavorable underwriting factors, specific to you, that were not present when the policy took effect.
The Director has determined that we no longer have adequate reinsurance to meet our needs.
. The Director has determined that continuation of coverage could place us in viclation of the laws of Ilinots.
§. Our notice of cancellation will state our reasons for canceling.
6. The policy period will end on the day and hour stated in the cancellation notice.

Nonrenewal

1. We may elect not to renew the policy. If we fail to give 60 days notice, the policy will automatically be extended for
one year. Mailing that notice to you at your last known mailing address will be sufficient to prove notice. An exact
and unaltered copy of such notice shall also be sent to the insured's broker, if known, or the agent of record at the
last mailing address known by the company.

2. Our notice of nonrenewal will state our reasons for not renewing.

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3. If we faii to provide the. notice of nonrenewal as required, the policy wiil still terminate on its expiration date if:
a. We show you a willingness to renew the policy; or
b. You notify us or the agent or broker who procured this policy that you do not want the policy renewed; or
c. You fail to pay all premiums when due; or
d. You obtain other insurance as a replacement of the policy.
Sole Representative

The insured first named in Item 1 of the Information Page will act on behalf of all insureds to change this policy, re-
ceive return premium or to give us notice of cancellation.

Part Five (Premium), Section G. Audit is replaced by this Section.
Audit

You will let us examine and audit all your records that relate to this policy. These records include ledgers, journals,
registers, vouchers, contracts, tax reports, payroll and disbursement records, and programs for storing and retrieving
data. We may conduct the audits during regular business hours during the policy period and within three years after
the policy ends. Information developed by audit will be used to determine final premium. The National Council on
Compensation Insurance has the same rights we have under this provision.

This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.

(The information betow is required only when this endorsement is issued subsequent to preparation of the policy.}

Endorsement Effective Policy No. Endorsement No.

Insured Premium $

Insurance Company Countersigned by

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(Ed, 04-01)

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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY
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ILLINOIS MEDICAL BENEFITS DEDUCTIBLE ENDORSEMENT

This endorsement applies only to the insurance provided by Part One (Workers Compensation Insurance) because

liinois is shown in Item 3.A. of the Information Page.

1. Part One (Workers Compensation Insurance) applies to medical benefits only in excess of a deductible amount of
$1,000. This deductible applies separately to each accident, regardless of the number of persons injured in the ac-
cident.

2. We will pay the deductible amount for you, but you must reimburse us within 30 days after we send you notice that
payment is due. If you fail to reimburse us, we may cancel the policy in accordance with Illinois cancellation law.
We may keep the amount of unearned premium that will reimburse us for the payments we made. These rights are
in addition to other rights we have to be reimbursed.

This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.

(The information below is required anly when this endorsement is issued subsequent to preparation of the policy.)

Endorsement Effective Policy No. Endorsement No.

Insured Premium $

Insurance Company Countersigned by

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